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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )       Docket No. 1:21-cr-00195
                                             )
                                             )
              v.                             )       ELECTRONICALLY FILED
                                             )
                                             )
DEBORAH SANDOVAL,                            )       The Honorable Colleen Kollar-Kotelly
                                             )
              Defendant.                     )

             MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

       AND NOW, to-wit, comes Defendant, Deborah Sandoval (hereinafter “Ms. Sandoval”),

by and through her attorney, Komron Jon Maknoon, Esquire, and respectfully files the within

Motion for Leave to File Documents Under Seal and, in support thereof, avers as follows:

       1.     Undersigned counsel intends to file a Memorandum in Aid of Sentencing in the

above-captioned case which includes sensitive information pertaining to Ms. Sandoval’s medical,

psychological, and personal history.

       2.     Medical information is safeguarded and protected from disclosure by the Health

Insurance Portability and Accountability Act of 1996 (hereinafter “HIPAA”).

       3.     Sealing is necessary for the Memorandum in Aid of Sentencing due to the nature

of the included information and strict privacy and security provisions under HIPAA.

       4.     There are no means other than sealing available or satisfactory in the present matter.

       WHEREFORE, undersigned counsel respectfully requests this Honorable Court permit

leave to file the Memorandum in Aid of Sentencing under seal.



                                                     Respectfully submitted,


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                                  s/ Komron Jon Maknoon
                                  Komron Jon Maknoon, Esquire
                                  PA I.D. NO. 90466

                                  Maknoon & Associates, LLC
                                  309 Smithfield St., 4th Floor
                                  Pittsburgh, PA 15222
                                  (412) 201-1802
                                  (412) 774-8424 FAX

                                  Attorney for Defendant, Deborah Sandoval




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